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            EXHIBIT 8
                                                                   Case 5:24-cv-03203-PHK Document 1-8 Filed 05/28/24 Page 2 of 2
            Why YouTube            How it works             News and inspiration            Resources               FAQs                                                             1-877-763-9810   START NOW




               Frequently asked questions
               Get answers to common questions about
               advertising on YouTube.


                                                                                                                                                                 TOGGLE ALL




               How much do YouTube Ads cost?


               Do I need a Google Ads account to advertise on YouTube?
               Yes. Google Ads helps businesses run ads across the entire Google advertising platform, which includes YouTube. That means you’ll set up, run,
               and manage your YouTube Ads campaign with a Google Ads account. If you don’t have an account yet, you can sign up here.



               Where and when will my YouTube ad show up online?


               How do I know if my YouTube Ads campaign is working?


               Can I control who sees my ad?


               Do I need a YouTube channel to advertise?


               Where can I get help with my video ad?


               How do I start a YouTube live stream?




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Blog                                   YouTube Music                           YouTube Advertising                         Creator Research                    CSAI Match


How YouTube Works                      YouTube Originals                                                                   Creator Services Directory          Social Impact


Jobs                                   YouTube Podcasts                                                                    YouTube Artists


Press                                  YouTube Premium                                                                     YouTube Creators


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NFL Sunday Ticket                      YouTube Studio                                                                      YouTube VR


                                       YouTube TV




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